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                                                                                                      Form 4-1


UNITED STATES COURT OF INTERNATIONAL TRADE                                                     FORM 4

  IMPACT PLASTICS CORPORATION and
  ROLL-TECH MOLDING PRODUCTS, LLC,
                                             Plaintiff,

  v.                                                                            S U M M O N S 20-948

  UNITED STATES,
                                             Defendant.

TO:    The Above-Named Defendant:

        You are hereby summoned and required to serve on plaintiff’s attorney, whose name and
address are set out below, an answer to the complaint which is herewith served on you, within
21* days after service of this summons on you, exclusive of the day of service. If you fail to do
so, judgment by default will be taken against you for the relief demanded in the complaint.

                                                       /s/ Mario Toscano
                                                       Clerk of the Court




                                                                     Name, Address, Telephone Number and
                                                                     E-mail Address of Plaintiff’s Attorney
Lawrence           Digitally signed by Lawrence
                   Friedman                                       Lawrence M. Friedman
Friedman           Date: 2020.09.18 14:01:51 -05'00'
                                                                  Barnes, Richardson & Colburn, LLP
Signature of Plaintiff’s Attorney                                 303 East Wacker Drive
                                                                  Suite 305
                                                                  Chicago, IL 60601
9/18/2020                                                         312 297-9554
                                                                  lfriedman@barnesrichardson.com
       Date

* If the United States or an officer or agency thereof is a defendant, the time to be inserted as to
it is 60 days, except that in an action described in 28 U.S.C. § 1581(f) the time to be inserted is
14 days.


(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7,
2010, eff. Jan. 1, 2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25,
2017.)
